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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

DANA ADAMS, ET AL.                                                                      Plaintiffs

v.                                                               Civil Action No. 3:16-CV-218

FIFTH THIRD BANK                                                                       Defendant
                                          * * * * *

                                         JUDGMENT

          In accordance with the Order entered this same date and pursuant to Rule 58 of the

Federal Rules of Civil Procedure it is ORDERED and ADJUDGED as follows:

           (1)    Judgment is entered in favor of Defendant Fifth Third Bank with respect to

 the claim brought by Plaintiffs Dana Adams and Robert Jones in this matter.

           (2)   This action is DISMISSED with prejudice and STRICKEN from the Court’s

docket.

          (3)    This is a FINAL and APPEALABLE Judgment, and there is no just cause for

 delay.




                                                                   September 6, 2019




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